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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI


   IN RE: MARGARET B. HALL                                              NO. 20-12866-JDW

   COMMUNITY BANK OF MISSISSIPPI                                            PLAINTIFF/
                                                                   COUNTER-DEFENDANT


   VS.                                                   ADVERSARY NO. 20-01059-JDW


   LOANCARE, LLC                                                           DEFENDANT/
                                                                     COUNTER-CLAIMANT

   MARGARET B. HALL
   AND WILLIAM L. FAVA, TRUSTEE                                              DEFENDANTS


                      MOTION TO STAY ADVERSARY PROCEEDING
         Community Bank of Mississippi brings this motion to stay this adversary
   proceeding and for cause would show as follows:
         1.     In light of this Court’s approval of the Application of the Chapter 7 Trustee
   to employ BK Global Real Estate Services to Procure Consented Public Sale Pursuant
   to 11 U.S.C. §327 (Doc 16), this adversary proceeding should be stayed since a sale as
   anticipated by the Trustee may moot the issues raised herein. Due to the uncertainties
   of the sale process, the stay should continue until further Order of the Court. The Bank
   also requests that the deadline to respond to any outstanding discovery be extended 30
   days past the end of the stay.
         WHEREFORE, PREMISES CONSIDERED, Community Bank of Mississippi
   requests that this Court stay this adversary proceeding, extend the deadline to respond
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   to any outstanding discovery 30 days past the end of the stay and grant such other
   relief as is necessary under the circumstances
         DATED: April 9, 2021.
                                            COMMUNITY BANK OF MISSISSIPPI


                                            By:     /s/ Jeff Rawlings
                                                    Its Attorney


                                 CERTIFICATE OF SERVICE
          On April 9, 2021 I served a copy of the foregoing via the ECF notification
   service upon D. Dewey Hembree, William L. Fava, Karen B. Schneller and the
   U.S. Trustee.
                                            /s/ Jeff Rawlings
                                            Jeff Rawlings
   Jeff Rawlings
   Rawlings & MacInnis, P.A.
   P.O. Box 1789
   Madison, MS 39130-1789
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